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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS



 UNITED STATES OF AMERICA

        v.                               No. 19-cr-10195-WGY

 HAOYANG YU, et al.


             MEMORANUDM OF LAW IN SUPPORT OF
       MOTION TO DISMISS INDICTMENT DUE TO VINDICTIVE
    PROSECUTION AND OUTRGEOUS GOVERNMENT MISCONDUCT




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                                     BACKGROUND

      On June 11, 2019, a grand jury returned an indictment charging Defendant

Haoyang Yu with the theft of trade secrets in violation of 18 U.S.C. § 1832(a)(1) &

(a)(4) (Counts 1 through 4); copying, uploading, downloading a trade secret in

violation of § 1832(a)(2) & (a)(4) (Count 5); possession of a trade secret in violation of

§ 1832(a)(3) & (a)(4) (Counts 9 through 12); and smuggling in violation of 18 U.S.C.

§ 554 (Counts 13 through 15). D.E. #1 (“original indictment”). Mr. Yu pleaded not

guilty to those charges. D.E. #17.

      Thereafter, in discussions with defense counsel, the prosecution repeatedly

urged that Mr. Yu should plead guilty to all counts of the original indictment. When

Mr. Yu indicated that he intended to exercise his constitutional right to a jury trial,

at which the prosecution would bear the burden of proof beyond a reasonable doubt

and he would have the opportunity to confront his accusers and present his defense,

the prosecution increased its pressure on Mr. Yu to plead guilty. That pressure

involved coercive threats against Mr. Yu; his wife, Yanzhi Chen; and by extension,

their two young sons.1

      Specifically, the prosecution stated that, if Mr. Yu insisted on having a jury

trial, it would obtain a superseding indictment, not only charging Mr. Yu with

additional offenses, including immigration offenses that could jeopardize his U.S.



1 Notably, in May 2018, the FBI installed a pole camera outside the Yu residence to
surveil the entire family around-the-clock for almost a year. See D.E. #56-4 at 2. The
pole camera and other physical surveillance principally yielded images of Mr. Yu and
Ms. Chen taking care of their young children. The prosecution then used Mr. Yu’s
love for, and commitment to, his family for leverage against him.
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citizenship, but also charging Ms. Chen as his criminal confederate. Eventually, in

early September 2020, the prosecution emailed a “draft” superseding indictment to

defense counsel (nearly identical to the one eventually obtained), noting that it

planned to make a grand jury presentation as early as the following week. The

message was clear: plead guilty now, or you and your wife will be charged, you both

could be convicted and sentenced to lengthy prison terms, your children could be left

without parents, and your entire family could be cast out of the country.

      Notwithstanding those powerful threats, Mr. Yu refused to waive his

constitutional right to jury trial – and refused to plead guilty to crimes that he did

not commit. Accordingly, the prosecution followed through with its threats.

      On October 1, 2020, almost 16 months after the original indictment was

returned, and 6 days before a scheduled motion hearing, the prosecution obtained a

superseding indictment, charging Mr. Yu with essentially the same trade secret

offenses (Counts 1 through 15); different export offenses (Counts 21 and 22) 2; wire

fraud in violation of 18 U.S.C. § 1343 (Counts 16 through 18); interstate and foreign

transport of stolen goods in violation of § 2314 (Counts 19 and 20); visa fraud in

violation of § 1546 (Count 23); and unlawful procurement of U.S. citizenship in




2 The prosecution belatedly recognized that the “smuggling” charges in the original
indictment were unfounded because the MMICs that Mr. Yu allegedly sold to a buyer
in Spain were not, in fact, export controlled. The prosecution’s novel and dubious
theory in the superseding indictment is that Mr. Yu violated export laws by the mere
transmission of design specifications to the Taiwanese foundry that manufactures
MMICs for much of the global market, even though the foundry was already –
independent of Mr. Yu – equipped with all the “technology” at issue. Mr. Yu expects
to file a Renewed Motion for Franks Hearing that explains these issues in more detail.
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violation of § 1425(a) (Count 24). D.E. #78 (“superseding indictment”). The

superseding indictment also charged Ms. Chen in the wire fraud counts based on the

far-fetched theory that she committed a federal crime by allegedly sending wire

transfers to the Taiwanese foundry that manufactured MMICs for Mr. Yu’s small

company, Tricon MMIC, LLC (the same foundry that manufactured these devices for

ADI, the alleged victim company in this case, and for many other companies around

the world), or because an email to the foundry listed her name on an attached form.

Id.

      Mr. Yu and Ms. Chen have both pleaded not guilty to the charges in the

superseding indictment. D.E. #93. And although Mr. Yu is confident that a jury of his

peers will ultimately conclude that neither he nor his wife are guilty of these crimes

or any others, no person – and no family – should be put in his position in the first

place. In violation of the Fifth and Sixth Amendments, Mr. Yu has plainly been

punished, along with his wife and children, for having the audacity to exercise his

constitutional right to a jury trial. Accordingly, to vindicate Mr. Yu’s right and to

condemn the prosecution’s heavy-handed tactics, the case should be dismissed.

                                    ARGUMENT

      “Through the jury, we place the decisions of justice where they rightly belong

in a democratic society: in the hands of the governed.” William G. Young, “An Open

Letter to U.S. District Judges,” THE FEDERAL LAWYER (July 2003) at 30. In this case,

however, the prosecution sought to make the “decisions of justice” for itself, avoiding

a jury, excluding this Court, and undermining the democratic ideals that U.S.

Constitution embodies.
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      Prosecutorial discretion is broad, but it is not unfettered. See Wayte v. United

States, 470 U.S. 598, 608 (1985) (citing United States v. Batchelder, 442 U.S. 114, 125

(1979)). And while plea bargaining is sanctioned, “there are undoubtedly

constitutional limits upon its exercise.” Bordenkircher v. Hayes, 434 U.S. 357, 365

(1978). Here, the prosecution threatened Mr. Yu that if he refused to plead guilty and,

instead, exercised his constitutional right to a jury trial, it would bring more serious

charges against him, including ones that could jeopardize his U.S. citizenship; bring

new charges against his wife, Ms. Chen, for allegedly assisting in a supposed wire

fraud; and as a result, put their two young children at risk of losing both parents to

lengthy prison terms.

      Such tactics have no place in our criminal justice system, and they offend

several core principles of the U.S. Constitution. Imposing coercive pressure on a

defendant’s plea decision violates the Sixth Amendment guarantee of a jury trial in

“all criminal prosecutions.” Further, penalizing the defendant for refusing to plead

guilty and demanding a jury trial, which the law plainly permits him to do, violates

the Fifth Amendment guarantee of due process. And engaging in outrageous conduct

in an effort to secure criminal convictions – such as threatening a defendant’s wife

and children – also offends the most basic notions of fairness and justice.

      Although Mr. Yu has demonstrated tremendous bravery in the face of the

prosecution’s coercive tactics, by maintaining his innocence and demanding a trial

before a jury of his peers, no person should be subjected to such harsh treatment,

which is not only fundamentally unfair but undermines public confidence that the



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prosecution aims only to do justice based on the facts, not to secure convictions at any

cost. See Brady v. Maryland, 373 U.S. 83, 87 (1963) (“The United States wins its point

whenever justice is done its citizens in the courts.”); Berger v. United States, 295 U.S.

78, 88 (1935) (holding the government’s “interest . . . in a criminal prosecution is not

that it shall win a case, but that justice shall be done”).

      In   discussing    concerns    about       prosecutorial   misconduct   (specifically,

intentional interference with the attorney-client privilege), Justice Sotomayor

recently made the following observation:

             Prosecutors wield an immense amount of power, and they
             do so in the name of the State itself. That unique privilege
             comes with the exceptional responsibility to ensure that
             the criminal justice system indeed serves the ends of
             justice. Prosecutors fall short of this task, and therefore do
             a grave disservice to the people in whose name they
             litigate, when they permit themselves to enjoy unfair trial
             advantages and defendants’ expense.

Kaur v. Maryland, 141 S. Ct. 5, 7 (2020) (Sotomayor, J., concurring in denial of

certiorari). Such a “grave disservice” has been done here.

I.    The prosecution improperly sought to coerce Mr. Yu to waive his Sixth
      Amendment right to a jury trial by threatening to indict his wife, Ms.
      Chen.

      In Bordenkircher v. Hayes, 434 U.S. 357 (1978), the Supreme Court sanctioned

plea bargaining, a formerly “clandestine practice” that would not exist in “an ideal

world” where every defendant facing felony charges were tried by a jury of his or her

peers, as the Sixth Amendment to the U.S. Constitution contemplates. Id. at 361.

When the Court “accept[ed] the basic legitimacy of plea bargaining,” it “reject[ed] . . .

any notion that a guilty plea is involuntary in a constitutional sense simply because


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it is the end result of a bargaining process. . . . so long as the accused is free to accept

or reject the prosecution’s offer.” Id. at 365.

       At the same time, however, the Supreme Court recognized that prosecutorial

discretion in plea bargaining inherently carries “the potential for both individual and

institutional abuse,” and thus, “there are undoubtedly constitutional limits on its

exercise.” Id. Of particular relevance here, the Court did not give – and has never

given – the prosecution carte blanche to induce a guilty plea by threatening “some

person other than the accused.” Id. at 364 n.8 (emphasis in original). The facts

presented in Bordenkircher did not present that question (the threat was only to

charge Bordenkircher himself with a recidivist offense that carried a longer

sentence), and the decision did not address it. To the contrary, the Court recognized

that such situations might present “greater dangers.” Id.

              This case does not involve the constitutional implications
              of a prosecutor’s offer during plea bargaining of adverse or
              lenient treatment for some person other than the accused.
              . . . which might post a greater danger of inducing a false
              guilty plea by skewing the assessment of the risks a
              defendant must consider.

Id. (emphasis in original).

       Before Bordenkircher, the First Circuit “recognized that there are special

considerations attending a guilty plea offered in consideration of lenient treatment

for a person other than the defendant.” United States v. Tursi, 576 F.2d 396, 398 (1st

Cir. 1978) (citing Kent v. United States, 272 F.2d 795, 798 (1st Cir. 1959)). “Generally,

the fear has been that there is a greater danger of coercion in such a situation[.]” Id.;

see United States v. Buckley, 847 F.2d 991, 1000 n.6 (1st Cir. 1988) (recognizing “the


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potential danger inhering in this sort of bargain”). And since Bordenkircher, the

Supreme Court has never revisited this specific issue, nor held that prosecutors may

freely threaten spouses or young children to pressure defendants to forgo jury trials.

      In Lynumn v. Illinois, 372 U.S. 528 (1963), a case that pre-dated Bordenkircher

and involved a coerced confession rather than a coerced plea, the Supreme Court

illustrated how threats of harm to a defendant’s family can offend due process. The

defendant confessed to having sold marijuana to a cooperator “only after the police

had told her that state financial aid for her infant children would be cut off, and her

children taken from her, if she did not ‘cooperate.’” Id. at 534. The Supreme Court

held it was “clear” that a confession made “under such circumstances” was “not

voluntary.” Id. Rather the threats concerning the defendant’s children “combined to

produce an impellingly coercive effect.” Id. at 534-35. Accordingly, the Court set aside

the judgment of conviction. See id. at 538.

      In this case, the prosecution sought to employ similarly coercive tactics to

extract a guilty plea from Mr. Yu. The prosecution told Mr. Yu, through his counsel,

that if he declined to plead guilty, it would obtain a superseding indictment that

charged even more serious offenses against him (including immigration offenses that

could lead to the revocation of Mr. Yu’s U.S. citizenship) and name his wife, Ms. Chen,

as his criminal confederate. The message was clear: either “voluntarily” waive your

right to a jury trial or face the risk that you and your wife will both go to prison for

many years and your young children will effectively be orphaned. The fact that the




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prosecution has predictably disclaimed any coercive intent did nothing to diminish

the “impellingly coercive effect” of its threats. Id. at 534-35.

      The danger of undue coercion when the prosecution attempts to induce a guilty

plea based on threats against close family members (spouses, children, etc.) “imposes

a special responsibility on the district court.” Buckley, 847 F.2d at 1000 n.6. Because

this issue typically arises in a motion to withdraw a guilty plea or an appeal from a

conviction following a guilty plea, that responsibility typically takes the form of

careful, post hoc consideration concerning “voluntariness.” Id. Here, however, there

was no plea. Despite the attempted coercion, Mr. Yu has steadfastly refused to waive

his constitutional rights. As a result, this Court must use other means to evaluate

whether the prosecution’s unsuccessful pressure tactics exceeded the bounds that

Bordenkircher set for permissible plea bargaining. Indeed, the courts have “an

independent interest” in ensuring that bargaining processes, whether they produce

pleas or not, are just and fair. United States v. Daniels, 821 F.2d 76, 81 (1st Cir. 1987)

(Breyer, J.); cf. id. (recognizing that the rules for plea bargaining “protect[] not only

the parties, but also the fairness, integrity [and] public reputation of judicial

proceedings”) (second bracket in original; internal quotation omitted).

      The U.S. Constitution does not establish any “authority for plea bargaining.”

John H. Langbein, “Torture and Plea Bargaining,” 46 U NIV. CHICAGO L. REV. 3, 9

(1978) (explaining that “[p]lea bargaining, like torture, is coercive,” and “the

difference is of degree, not kind”). “Instead,” the Sixth Amendment provides “an

opposite guarantee” in all criminal prosecutions—that is, “a guarantee of a trial.” Id.



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       Yet because of coercive tactics like those employed by the prosecution in this

case, the “reality” is “that criminal justice today is for the most part a system of pleas,

not a system of trials.” Lafler v. Cooper, 566 U.S. 156, 170 (2012) (citing statistics that

97 percent of federal convictions and 94 percent of state convictions are the result of

guilty pleas); see Missouri v. Frye, 566 U.S. 134, 143-44 (2012) (“In today’s criminal

justice system, . . . the negotiation of a plea bargain, rather than the unfolding of a

trial, is almost always the critical point for a defendant.”). As a result, as this Court

has long recognized, the jury trial has all but disappeared in the United States, even

for criminal defendants. See Letter of William G. Young, U.S. District Judge, to

Joseph R. Biden, U.S. President (Mar. 9, 2021) (urging the President “to use all the

powers of [his] high office to restore the American jury to its central role in our

jurisprudence”); Young, “Open Letter,” at 31 (noting that “the rate of criminal jury

trials in federal court is plummeting” due, in large part to, the ability of prosecutors

to “manipulat[e]” the Sentencing Guidelines and to threaten “savage sentences” for

defendants who exercise their trial rights).

       Simply bolstering the right to effective assistance of counsel, which was the

Supreme Court’s primary goal in Lafler, Frye, and previously, Padilla v. Kentucky,

559 U.S. 356 (2010), will not reverse this dangerous course. Resurrecting the right to

a jury trial requires more direct and decisive action, including by trial judges who are

most directly exposed to these issues. As this Court implored its colleagues, the

judiciary must “take up the burden of defending our nation’s juries and make our

voices heard whenever and wherever the right to a jury trial is at issue (and in doing



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so secure the core values of the district court judiciary.” Young, “Open Letter,” at 34.

That includes, of course, cases like this one where the prosecution tries to use threats

against family members or other coercive tactics to twist the constitutional jury

guarantee into a cudgel with the power to crush defendants and their families by

exposing them to much greater harm if eventually convicted at trial.

II.   The prosecution vindictively punished Mr. Yu for exercising his right
      to a jury trial by indicting his wife.

      “To punish a person because he has done what the law plainly allows him to

do is a due process violation of the most basic sort.” North Carolina v. Pearce, 395

U.S. 711, 738 (1969); see Blackledge v. Perry, 417 U.S. 21, 25-29 (1974). Thus, “for an

agent of the State to pursue a course of action whose objective is to penalize a person’s

reliance on his legal rights is ‘patently unconstitutional.’” Bordenkircher, 434 U.S. at

363 (quoting Chaffin v. Stynchcombe, 412 U.S. 17, 32-33 n.20 (1973)); see United

States v. Lanoue, 137 F.3d 656, 664 (1st Cir. 1998) (“A vindictive prosecution, if

proved, violates a defendant’s Fifth Amendment right to due process.”). The Supreme

Court has described this guarantee of due process, enshrined in the Fifth Amendment

to the U.S. Constitution, as “basic” and “uncontroversial.” United States v. Goodwin,

457 U.S. 368, 372 (1982).

      “A defendant may establish a vindictive prosecution either (1) by producing

evidence of actual vindictiveness or (2) by demonstrating circumstances that reveal a

sufficient likelihood of vindictiveness to warrant a presumption of vindictiveness.”

United States v. Jenkins, 537 F.3d 1, 3 (1st Cir. 2008). “If the defendant creates a

presumption of vindictiveness the burden shifts to the government to show that


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legitimate reasons exist for the prosecution.” Lanoue, 137 F.3d at 664 (citing

Goodwin, 457 U.S. at 376 n.8); see United States v. Tobin, 598 F. Supp. 2d 125, 128-

29 (D. Me. 2009) (“Once raised, the government must rebut a presumption of

vindictiveness ‘by showing objective reasons for its charges,’ such as the discovery of

new evidence.”) (quoting Jenkins, 537 F.3d at 3).3

       Common examples of such objective reasons include “newly discovered

evidence,” “intervening criminal activity,” and a “material change in the law.” Tobin,

598 F. Supp. 2d at 131. For example, in Lanoue, “the most important reason offered

by the prosecutor” for the new, more serious charges leveled against the defendant

was discovery of “new evidence . . . that was unavailable when [the prosecutor]

originally dismissed it”). In Tobin, the court recognized the “quintessential

appearance of vindictiveness,” because after the defendant successfully appealed his

convictions, the prosecution brought new, more serious charges, even though it had

“not identified any newly discovered evidence that might justify its charging

decisions.” Id. at 129. Timing is also a “critical issue.” Id. at 132. The purported reason

for the prosecution to pursue a more aggressive course should be closely scrutinized




3 The First Circuit has cautioned that “courts should go very slow in embracing
presumptions of prosecutorial vindictiveness in pretrial proceedings.” United States
v. Stokes, 124 F.3d 39, 45 (1st Cir. 1997). It would be “incorrect to suggest,” however,
“that Goodwin categorically bars a district court from finding that the requisite
‘stake’” – that is, the motivation to penalize a defendant for exercising his rights –
“could arise in the pretrial setting.” LaDeau, 734 F.3d at 567. “In fact, Goodwin
‘declined to adopt a per se rule that in the pretrial context no presumption of
vindictiveness will ever lie.’” Id. (quoting United States v. Meyer, 810 F.2d 1242, 1246
(D.C. Cir. 1987)); see also United States v. Barner, 441 F.3d 1310, 1317-18 (11th Cir.
2006) (rejecting argument that pre-trial claims are categorically barred).
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when that reasons supposedly surfaces only after a defendant has exercised a

constitutional or statutory right, such as the right to a jury trial.

       United States v. LaDeau, 734 F.3d 561 (6th Cir. 2013) (affirming the dismissal

of a superseding indictment and holding the prosecution had sought to penalize the

defendant for successfully moving to suppress critical evidence), exemplifies the

proper application of the vindictive prosecution doctrine in the pre-trial context. See.

The prosecution initially charged LaDeau with possession of child pornography, an

offense punishable by a sentence of 0-to-10 years’ imprisonment. But after LaDeau

won a significant suppression motion, the prosecution “upped the ante” and charged

him with receipt, an offense that implicated a 5-year minimum mandatory and a 25-

year statutory maximum. Because that new, more serious charge was “based on

evidence that had been in the government’s possession since before the initial

indictment,” LaDeau moved to dismiss the superseding indictment. Id. at 564. The

district court ruled that the circumstances triggered a presumption of vindictiveness

and that the prosecution had failed to rebut it, notwithstanding the prosecutor’s

representation in an affidavit that he never intended “to retaliate” against LaDeau

for exercising his rights. Id. at 565.

       In affirming the district court’s dismissal of the indictment, the appeals court

identified two hallmarks of vindictiveness – both of which are present in this case.

First, the Sixth Circuit noted that there was “little reason to suspect that the

prosecutor’s view of LaDeau’s case changed significantly between the two

indictments,” because the prosecution “already possessed all of the relevant evidence



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that supported the superseding indictment will before procuring the first indictment.”

Id. at 568. Second, it also recognized that “the burden that LaDeau’s successful

suppression motion placed upon the government was significant.” Id.

      Here, as in LaDeau, the prosecution had all the evidence relevant to its

superseding indictment, both concerning the more serious charges against Mr. Yu

and the new charges against his wife, Ms. Chen. There was “no new revelation or

discovery to support the government’s sudden shift” to a far more aggressive pursuit

of Mr. Yu and Ms. Chen. Id. at 571 (noting that “the evidentiary landscape” was not

“materially altered” in a way that would have justified the prosecution’s decision).

Moreover, the burden of having to conduct a jury trial in a complex, trade secrets

case, which will involve complex technological issues as well as difficult intent

questions, is certainly “significant,” one that the prosecution would prefer to avoid.

Id. at 568.

      Critically, in evaluating the prosecution’s conduct, the constitutional analysis

is not narrowly focused on Mr. Yu and Ms. Chen. Rather, “[t]he vindictive prosecution

doctrine imposes critical ‘constitutional limits’ upon the exercise of prosecutorial

discretion.” Tobin, 598 F. Supp. 2d at 132 (quoting Lovett v. Butterworth, 610 F.2d

1002, 1005 (1st Cir. 1979) (quoting Bordenkircher, 434 U.S. at 365)). “Those limits

protect all current and future criminal defendants, including those whose conduct

may be properly described as ‘insidious’ or ‘thoroughly bad.’” Id.; see LaDeau, 734

F.3d at 566 (“By allowing for a presumption of vindictiveness to be drawn under

narrow circumstances, the Blackledge rule is a prophylactic one.”). Thus, “courts must



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assess the likelihood of prosecutorial vindictiveness with the doctrine’s ‘prophylactic’

purposes in mind.” Tobin, 598 F. Supp. 2d at 129.

             The vindictive prosecution doctrine seeks not only to
             alleviate the accused’s apprehension of persecution but
             also to prevent the chilling of “the exercise of legal rights
             by other defendants who must make their choices under
             similar circumstances in the future.”

Id. at 130 (quoting Jenkins, 504 F.3d at 700). By filing a superseding indictment with

more serious charges against Mr. Yu, including immigration offenses, and new

charges against his wife, Ms. Chen, shortly after Mr. Yu refused to plead guilty and

exercised his right to a jury trial, the prosecution “exceeded those limits.” Id. at 132.

      The prosecution’s self-serving denials of any vindictive intent cannot dispel the

applicable presumption. See LaDeau, 734 F.3d at 571-72 (holding that “subjective

rationales” offered by the prosecution in an affidavit did not constitute “objective

explanations” which were necessary to rebut the presumption of vindictiveness).

Further, given the circumstances and the stakes, those assertions should, at a

minimum, be explored through discovery and subjected to challenge at an evidentiary

hearing. See United States v. Dwyer, 287 F. Supp. 2d 82, 88 (D. Mass. 2003) (ruling

that to obtain discovery in support of a vindictive prosecution claim in a pre-trial

context, a defendant “need only provide some objective evidence tending to show a

likelihood of vindictiveness”) (citing United States v. Adams, 870 F.2d 1140, 1146 (6th

Cir. 1989), and Note, “Breathing New Life into Prosecutorial Vindictiveness

Doctrine,” 114 HARV. L. REV. 2074, 2095 (2011)); cf. United v. Tuitt, 68 F. Supp. 2d 4,

18 (D. Mass. 1999) (applying the same standard for a selective prosecution claim



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where the defendant presented evidence that “raise[d] an eyebrow high enough as to

require further explanation”).

III.   By using criminal charges against Ms. Chen for leverage against Mr.
       Yu, the prosecution has engaged in outrageous government
       misconduct.

       When the prosecution “violates ‘fundamental fairness’ and ‘shock[s] . . . the

universal sense of justice,’” it “encroaches on a defendant’s due process rights.” United

States v. Anzalone, 923 F.3d 1, 5-6 (1st Cir. 2019) (quoting United States v. Russell,

411 U.S. 423, 432 (1973) (further internal quotations omitted). In those “limited

circumstances,” based on “outrageous government misconduct,” a court may dismiss

criminal charges against the defendant. United States v. Djokich, 693 F.3d 37, 43 (1st

Cir. 2002); see, e.g., United States v. Marshank, 777 F. Supp. 1507, 1524 (N.D. Cal.

1991) (dismissing indictment because government engaged in outrageous conduct

that interfered with attorney-client relationship). In this case, by its outrageous

tactics, the prosecution has sullied two of the central pillars of our society: the trial

by jury and the institution of marriage.

       “Due process of law, as a historic and generative principle, precludes defining,

and thereby confining, these standards of conduct more precisely than to say that

convictions cannot be brought about by methods that offend ‘a sense of justice.’”

Rochin v. California, 342 U.S. 165, 173 (1952). A court must “consider outrageous

government conduct claims ‘holistically, evaluating the ‘totality of the relevant

circumstances’ while recognizing that ‘outrageousness, by its nature, requires an ad

hoc determination that cannot ‘usefully be broken down into a series of discrete



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components.” Anzalone, 923 F.3d at 5-6 (quoting United States v. Therrien, 847 F.3d

9, 14 (1st Cir. 2017) (quoting United States v. Santana, 6 F.3d 1, 6-7 (1st Cir. 1993))).

      When a prosecutor or agent engages in “extreme and outrageous government

conduct,” a district court may “bar conviction of [the] defendant” either in the exercise

of “the supervisory powers of the federal courts” or, alternatively, to vindicate “the

concept of fundamental fairness embodied in the due process clause.” United States

v. Santana, 808 F. Supp. 77, 84 (D. Mass. 1992); see Anzalone, 923 F.3d at 5 (citing

Djokich, 693 F.3d at 43). In this way, the outrageous misconduct doctrine serves as a

final bulwark to “prevent[] the government from going too far.” Santana, 6 F.3d at

12.

      Here, in its zeal to secure a guilty plea, the prosecution warned Mr. Yu that, if

he exercised his constitutional right to a jury trial, it would obtain a superseding

indictment, charging him with more serious offenses, charging his wife with new

offenses, and threatening their two young children with the loss of their parents. The

fact that the prosecution sought to leverage Mr. Yu’s love for, and commitment to, his

wife and their children makes its efforts to avoid a jury trial all the more offensive.

             Marriage is sacred to those who live by their religions and
             offers unique fulfillment to those who find meaning in the
             secular realm. Its dynamic allows two people to find a life
             that could not be found alone, for marriage becomes greater
             than just the two persons. Rising from the most basic
             human needs, marriage is essential to our most basic
             profound hopes and aspirations.

Obergefell v. Hodges, 576 U.S. 644, 656-57 (2015); see id. at 663-70 (discussing at

length why marriage is both “a fundamental right” and “a keystone of our social

order”); see Trammel v. United States, 445 U.S. 40, 44 (1980) (noting that “the marital
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relationship” has been “described by this Court as the best solace of human

existence”) (internal quotation omitted). Indeed, “the protection of marital

confidences is ‘regarded as so essential to the preservation of the marriage

relationship as to outweigh the disadvantages to the administration of justice which

the privilege entails.’” United States v. Breton, 740 F.3d 1, 10 (1st Cir. 2014) (quoting

Wolfle v. United States, 291 U.S. 7, 14 (1934)).

      In United States v. Jefferson, Judge Myron S. Thompson observed that a

similar threat by the prosecution had presented a defendant with an excruciating

choice reminiscent of “a wrenching part from William Styron’s novel, Sophie’s

Choice.” 315 F. Supp. 2d. 1187, 1189 (M.D. Ala. 2004). Judge Thompson recounted

that the defendant had been “reduced to tears” in the courtroom “when told . . . that

he would need to make a choice between not pursuing his appeal or risking that his

wife would be indicted and his children left without a parent.” Id. In the end, the

prosecution withdrew its threat, and the court allowed the defendant’s motion for an

extension of time in which to file his appeal. Nevertheless, Judge Thompson felt

“compelled” to offer the following observations to “all prosecutors and all defense

attorneys”:

              As the court watched Jefferson, tears in his eyes, pace back
              and forth in open court, and when he finally asked to be
              taken back to his cell because he was unable to choose
              between appealing his case (which he believed he had a
              right to do) and risking the indictment of his wife (with the
              added result that his child might be left without a parent),
              the court could not help but recall a wrenching part from
              William Styron’s novel, Sophie’s Choice. . . .

              While the practice of not indicting a loved one in exchange
              for a guilty plea and waiver of other rights is an accepted,
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             and perhaps sometime even useful and fair, prosecutorial
             bargaining tool, prosecutors, and defense attorneys who
             engage in this practice must be aware of how easy it is to
             cross the line between what is fair and just and humane and
             what is simply inhumane.

Id. (emphasis added).

      As the Court knows, despite the DOJ’s puffery about its China Initiative, this

case is not a high-profile prosecution of a Chinese spy. But for Mr. Yu’s ethnic Chinese

identity, this case is a run-of-the-mill civil dispute about the alleged theft of trade

secrets related to decades-old electronic devices, which are bought and sold on global

markets as basic commodities. Those facts are part of the overall calculus, because

“outrageousness . . . can only be evaluated by taking into account the totality of the

relevant circumstances.” Santana, 6 F.3d at 7.

      Like many civil disputes, this case involves complex issues about whether the

parts at issue were trade secrets and, if so, whether Mr. Yu misappropriated them

from his former employer, ADI. Further, as a criminal prosecution, this case also

involves critical issues about Mr. Yu’s intent. The prosecution bears the burden of

proving its case beyond a reasonable doubt, and Mr. Yu has the right to challenge

that case in open court and to have a jury of his peers decide whether he knowingly

and intentionally committed any crime. To avoid that trouble – and the risk that its

evidence will fall short – the prosecution told Mr. Yu, in substance, that if he chooses

to have a jury trial, his wife will be seated at the defense table next to him. It is the

very sanctity of marriage that made the prosecution’s threat so powerful to Mr. Yu,

and its use of that tactics so offensive to any sense of justice. The collective

punishment of entire families – husbands, wives, and children – has long been a
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hallmark of uncivilized societies. In short, such “brutality” should be denied “the

cloak of law,” Rochin, 342 U.S. at 174, and the courts should fulfill their

“responsibility” to ensure that due process is respected. Id. at 169.

                                   CONCLUSION

      For the foregoing reasons, Defendant Haoyang Yu respectfully requests that

this Court dismiss the superseding indictment against him.

                                        Respectfully submitted,

                                        HAOYANG YU

                                        by his attorneys,

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                           CERTIFICATE OF SERVICE

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                                        /s/ William Fick




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